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  PACHULSKI STANG ZIEHL & JONES LLP
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           ZAnnable@HaywardFirm.com

  Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                   §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   §
                                                   §
                                  Plaintiff,
                                                   §
                                                   §   Adv. Proc. No. 21-03003-sgj
  vs.
                                                   §
                                                   §
  JAMES DONDERO, NANCY DONDERO, AND THE
                                                   §
  DUGABOY INVESTMENT TRUST,                            Case No. 3:21-cv-00881-X
                                                   §
                                                   §
                                  Defendants.
                                                   §
                                                   §




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                                            §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            §
                                            §
                                            §   Adv. Proc. No. 21-03004-sgj
                             Plaintiff,
                                            §
  vs.                                       §
                                            §
                                            §   Case No. 3:21-cv-00881-X
  HIGHLAND CAPITAL MANAGEMENT FUND          §
  ADVISORS, L.P.,                           §
                                            §
                                            §
                             Defendant.     §
                                            §
                                            §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            §
                                            §
                             Plaintiff,         Adv. Proc. No. 21-03005-sgj
                                            §
                                            §
  vs.
                                            §
                                            §
  NEXPOINT ADVISORS, L.P., JAMES                Case No. 3:21-cv-00881-X
                                            §
  DONDERO, NANCY DONDERO, AND
                                            §
  THE DUGABOY INVESTMENT TRUST,
                                            §
                                            §
                             Defendants.    §
                                            §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                            §
                                            §
                             Plaintiff,         Adv. Proc. No. 21-03006-sgj
                                            §
                                            §
  vs.
                                            §
                                            §
  HIGHLAND CAPITAL MANAGEMENT                   Case No. 3:21-cv-00881-X
                                            §
  SERVICES, INC., JAMES DONDERO,
                                            §
  NANCY DONDERO, AND THE DUGABOY
                                            §
  INVESTMENT TRUST,
                                            §
                                            §
                             Defendants.
                                            §




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                                                         §
  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                         §
                                                         §
                                 Plaintiff,              § Adv. Proc. No. 21-03007-sgj
                                                         §
  vs.                                                    §
                                                         § Case No. 3:21-cv-00881-X
  HCRE PARTNERS, LLC (n/k/a NexPoint                     §
  Real Estate Partners, LLC), JAMES                      §
  DONDERO, NANCY DONDERO, AND                            §
  THE DUGABOY INVESTMENT TRUST,                          §
                                                         §
                                                         §
                                 Defendants.             §


                        NOTICE OF ATTORNEYS’ FEES CALCULATION
                             AND BACKUP DOCUMENTATION

         PLEASE TAKE NOTICE that Highland Capital Management, L.P. (“Highland” or

 “Plaintiff”), the reorganized debtor in the above-captioned chapter 11 case (the “Bankruptcy

 Case”) and plaintiff in the above-referenced adversary proceedings (the “Adversary Proceedings”)

 hereby files this Notice of Attorney’s Fees Calculation and Backup Documentation (the “Notice”)

 in support of its Proposed Form of Judgment, in accordance with the Court’s directive in its Report

 and Recommendation to District Court: Court Should Grant Plaintiff’s Motion for Partial

 Summary Judgment Against All Five Note Maker Defendants (With Respect to All Sixteen

 Promissory Notes) in the Above-Referenced Consolidated Note Actions [Docket No. 191] (the

 “R&R”), filed on July 19, 2022.

         1.       Attached as Exhibit 1 is the Declaration of John A. Morris in Support of Highland

 Capital Management, L.P.’s Proposed Form of Judgment (the “Morris Declaration”), and backup

 documentation supporting the calculation of attorneys’ fees.

                              [Remainder of Page Intentionally Blank]




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  Dated: August 5, 2022            PACHULSKI STANG ZIEHL & JONES LLP

                                   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                   John A. Morris (NY Bar No. 2405397)
                                   Gregory V. Demo (NY Bar No. 5371992)
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                                           hwinograd@pszjlaw.com


                                   -and-
                                   HAYWARD PLLC
                                   /s/ Zachery Z. Annable
                                   Melissa S. Hayward
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                                   Fax: (972) 755-7110
                                   Counsel for Highland Capital Management, L.P.




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                                 EXHIBIT 1




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     DECLARATION OF JOHN A. MORRIS IN SUPPORT OF HIGHLAND CAPITAL
           MANAGEMENT L.P.’S PROPOSED FORM OF JUDGMENT


         I, John A. Morris, pursuant to 28 U.S.C. § 1746, under penalty of perjury, declare as

 follows:

                  2.         I am a partner in the law firm Pachulski, Stang, Ziehl & Jones LLP (the

 “Firm”), counsel to Highland Capital Management, L.P. (“Highland” or “Plaintiff”), the

 Reorganized Debtor in the above-captioned chapter 11 case (the “Bankruptcy Case”) and the

 plaintiff in the above-referenced adversary proceedings (each, a “Note Litigation,” and

 collectively, the “Notes Litigation”). I submit this Declaration in support of Highland Capital

 Management, L.P.’s Proposed Forms of Judgment (the “Proposed Judgments”).

                  3.         I have overseen my Firm’s representation of Plaintiff in all aspects of the

 Notes Litigation. This Declaration is based on my personal knowledge and review of the

 documents listed below.

                  4.         On July 19, 2022, the Bankruptcy Court rendered a Report and

 Recommendation to District Court: Court Should Grant Plaintiff’s Motion for Partial Summary

 Judgment Against All Five Note Maker Defendants (With Respect to All Sixteen Promissory Notes)

 in the Above-Referenced Consolidated Note Actions (the “R&R”). 1 In the R&R, the Court directed

 Highland to “submit a form of Judgment applicable to each Note Maker Defendant that calculates

 proper amounts due pursuant to th[e] Report and Recommendation, including interest accrued to

 date (and continuing per diem), as well as attorneys’ fees incurred.” R&R at 44-45.




 1
  Identical copies of the R&R were filed in Adv. Pro. No. 21-03003 at Docket No. 191; Adv. Pro. No. 21-03004 at
 Docket No. 163; Adv. Pro. No. 21-03005 at Docket No. 207; Adv. Pro. No. 21-03006 at Docket No. 213; and Adv.
 Pro. No. 21-03007 at Docket No. 208.



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                  5.         As set forth below, and in accordance with the Court’s direction in the R&R,

 I and others working at my direction have reviewed invoices related to the attorneys’ fees and

 expenses charged to Highland in the Notes Litigation and calculated the amount of attorneys’ fees

 and expenses incurred in connection therewith.

 A.      Attorneys’ Fees Charged by Pachulski Stang Ziehl & Jones LLP

                  6.         In the ordinary course of business, timekeepers (including attorneys and

 legal assistants) at my Firm record billable time in increments of one-tenth of an hour.

 Timekeepers are also required to classify their work by task codes and/or matter numbers to

 differentiate between individual tasks conducted for the same client.

                  7.         For the period December 1, 2020, until August 10, 2021, the Firm’s

 timekeepers recorded their time entries relating to the Notes Litigation under matter number “.002”

 and task code “BL” (short for “Bankruptcy Litigation”). Attached as Exhibit A are the Firms’

 invoices for the period December 1, 2020, through August 10, 2021, that reflect all of the Firm’s

 time billed to the Notes Litigation.

                  8.         For the period August 11, 2021, through December 31, 2021, the Firm’s

 timekeepers recorded their time entries relating to the Notes Litigation under matter number “.003”

 and task code “NL” (short for “Notes Litigation”). Attached as Exhibit B are the Firm’s invoices

 for the period August 11, 2021, through December 31, 2021, that reflect all of the Firm’s time

 billed to the Notes Litigation.

                  9.         On January 1, 2022, the Firm created a new matter number (“.004”) for

 timekeepers to record their time entries relating to the Notes Litigation. Attached as Exhibit C

 are the Firm’s invoices for the period January 1, 2022, through July 31, 2022, that reflect all of the

 Firm’s time billed to the Notes Litigation.




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                  10.        We have reviewed the attached invoices and redacted all entries that we

 concluded were inadvertently coded or charged to the Notes Litigation (“Misapplied Time”).

 Based on that review, we believe the attached invoices capture and reflect fees properly charged

 by my Firm to Highland with respect to the Notes Litigation.

                  11.        For the period December 1, 2020 through July 31, 2022, the attorneys’ fees

 billed by the Firm’s timekeepers with respect to the Notes Litigation and charged to Highland are

 in the total aggregate amount of $2,663,585.30 (the “Fees”).

 B.      Third-Party Expenses Incurred In Connection with the Notes Litigation

                  12.        In order to conserve resources, the Firm retained a third-party litigation

 support from a firm called “Robert Half” to review documents for responsiveness and privilege in

 connection with the Notes Litigation. Attached as Exhibit D are the invoices for services rendered

 by Robert Half in connection with the Notes Litigation for the period December 1, 2020 through

 July 31, 2022 (the “Robert Half Expenses”).

                  13.        Finally, Highland took and defended numerous depositions in connection

 with the Notes Litigation. Attached as Exhibit E are invoices rendered by TSG Reporting, Inc.

 for court reporting services rendered in connection with the Notes Litigation for the period

 December 1, 2020 through July 31, 2022 (the “Court Reporting Expenses,” and together with the

 Robert Half Expenses, the “Expenses”).

                  14.        For the period December 1, 2020 through July 31, 2022, the Expenses

 incurred by the Firm and charged to Highland with respect to the Notes Litigation are in the total

 aggregate amount of $57,460.55.




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 C.      Summary of All Fees and Expenses Incurred by Highland in the Notes Litigation

                  15.        Attached as Exhibit F is chart showing that the aggregate amount of all

 Fees and Expenses charged to Highland in connection with the collection of the Notes is

 $2,797,105.35.

                  16.        As the Court is aware, there was substantial overlap in the legal and factual

 issues in the five adversary proceedings. Consequently, there was no reasonable way to allocate

 the Fees and Expenses separately between each Note Litigation and we believe the fairest method

 of allocating the Fees and Expenses under the circumstances is to charge each Defendant for one-

 fifth the total, or $559,421.07.

                  17.        I declare under penalty of perjury that the forgoing is true and correct.

 Dated: August 5, 2022



                                                                /s/ John A. Morris
                                                                    John A. Morris




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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    December 31, 2020
Board of Directors                                                  Invoice 126769
Highland Capital Management LP                                      Client  36027
300 Crescent Court ste. 700                                         Matter  00002
Dallas, TX 75201
                                                                            JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2020
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    February 28, 2021
Board of Directors                                                  Invoice 127314
Highland Capital Management LP                                      Client   36027
300 Crescent Court ste. 700                                         Matter   00002
Dallas, TX 75201
                                                                             JNP

RE: Postpetition

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2021
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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    Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
Case 3:21-cv-00881-X Document
                          Document
                              179-11 Filed
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                          Document
                              179-11 Filed
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
Case 3:21-cv-00881-X Document
                          Document
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                          Document
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 Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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  Case 21-03006-sgj Doc 219 Filed 08/05/22 Entered 08/05/22 21:11:43 Desc Main
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                                1mJRimxz@z.JaizmJREmIWdRzpqDqsoziLz?Jdq[dJ_z




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                                iL2-90*zDaJdIJIzDdouJmz




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                                HiddJHqVidzuWqSz2-9?zdiqJpz_WqVRDqVidz !z
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                                2-9?zdiqJoz^VqVRDqVidz z
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                                psFkiJdDpzNjmz;u-zPmz2-9?zdiqJpz^VqVRDqVidz!z
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                                tJmWMZHDqWidzVdzHihdJHqVidzuWqTz2-9?z=:ozWgz
                                diqJoz_VqWRDqVidz z
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4:=FcN_MHh6a;TDh9H@GPhh*XT@_h,,4h                                                            4:D@h  h
'HDFO;T>h#:[Ha:Oh.:T:D@Q@Tah-4h                                                               )TdXH=@hh
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                                d@]HAK=:aHXThLTh=XTT@=aHXThfHaFh'#.6h53_hLVh
                                TXa@_hOHaHD:aHXTh h
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                                53_hHThTXa@_hOHaHD:aHXTh h
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                                QXaHXThaXh:Q@T>h:T_f@]hHThTXa@_hOHaHD:aHXTh h




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,02:R@N?<W.P1F9W/<4;BWW'GF4NW((,W                                                            ,094W W
%<9:A1F3W#0I=P0AW*0F094C4FPW),W                                                               &FSG=24WW
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                                @=P=90P=GFWK4W 3=O2GS4MVWILGIGN43W0C4F3C5FPOW  W




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                                FGP4OWA<P<90P<GFWL4W 3=N2GS4VW ILGIGO43W0C4F3C4FPOW
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%*,2G6C54L'E+;1L)4.38LL >;.CL!!%L                                                             %*1.L L
4127+;-L*?4E*7L#*;*1.9.;EL"%L                                                                ;I>4,.L  L
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*/28J=G<:O-I0B7O.:49?OO%DB4GO&&*O                                                           */74O O
":78>0B3O/E:I/>O'/B/74@4BIO&*O                                                              #BKD:24O  O
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                                                                                    "DJFHO           +0I4O    ADJBIO



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                                 O+4K:4LO",!O3:G2DK4FMOG2843J=4O;COBDI4GO


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                                L O$O-44FMOF4O *LOGJ1ED4B/O6D@O DB34FDO  O
                                4@/:=GOL O(O:74BO%O*D@4F/BINOF4O *LO


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29;EbL^KHj5`:TDj8H=FNjj*WT=^j,,2j                                                               29D=j j
'HDEM:T<j#9YG`9Mj/9T9D=O=T`j-2j                                                                  (TdWG;=jj
j j                                                                                    *bT=j jj




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                                <=A?T<9T`^j* j2WO=[:T`ij&j$=OWj' j7HTWD[:<j[= j
                                <H^;We=[hj9T<j_;E=<cM=jAX[jTW`=^jLJ`HD9`HWV_j j j




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*/17R>N=:W,P0F6W.:39@WW%HF3NW&&*W                                                         */63W W
":67?0F2W /J:P/?W(/F/63A3FPW'*W                                                            $FSH:13W  W
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                                FHQ3NW?:Q:6/Q:HFW W+3S:3UW" )WAHQ:HFWQHW
                                /F3F2W/FNU3LW W !M/5WN3/K18WP3EW4IMW" )W
                                2:N1HS3VW:FWFHP3NW?<P:6/P:HFW WW




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%)+0F9B63L'E*</L(3-28LL ><-BL!!%L                                                            %)/-L  L
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*14:RAO@=W,Q3H8W0=6<CWW%IH6OW&&*W                                                             *186W W
!=8:B3H5W 1J>Q1BW(1H186D6HQW'*W                                                                #HTI>46WW
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                                155WH6VW41RO6OWI7W14Q>IHW WW

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                                HIQ6OWB=Q>81Q=IHW W 1ABWV>Q:W% W)IKK>OWN6W
                                1D6H5>H8W4IEJA1=HQOW>HWHIQ6OWA=Q>81Q>IHW WW




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18;?UEPDAZ3R9K>Z7A=@GZZ*LK=PZ++1Z                                                          18>=Z Z
&A>?F9K<Z%8MBR8FZ.8K8>=H=KRZ,1Z                                                             (KWLB;=ZZ
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:BGTt\mZVx=oEbQxAVJU^xx2gbJmx44:x                                                              :BQJ#x x
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                                BmmJpJIxG\BX_mxNkxbgoJmx]VoVQBoVgbmx 'x,jBPx
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    July 31, 2021
Board of Directors                                                  Invoice 128292
Highland Capital Management LP                                      Client    36027
300 Crescent Court ste. 700                                         Matter    00002
Dallas, TX 75201
                                                                              JNP

RE: Postpetition

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          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2021




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                          Document
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